     Case 2:10-cv-05174-JAK -FMO Document 2             Filed 07/14/10 Page 1 of 2 Page ID #:65



                                    copy                               Fit. EO
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 3
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11
                                  UNITED STATES DISTRICT COURT
12
                                 CENTRAL DISTRICT OF CALIFORNIA
13

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15
     FRASERSIDE HOLDINGS, LTD., a
     foreign limited liability company
                                                  Case N,..      CV 10 517 4 ·-6 /;J {foc~
16
                    Plaintiff,                     CERTIFICATION AND NOTICE OF
17                                                 INTERESTED PARTIES
           vs.
18   XOD LLC, a Delaware corporation,
     d/b/a XonDemand, xondemand.com
19
20
            Defendant.
21

22    TO:   THE COURT AND ALL PARTIES APPEARJNG OF RECORD:
23
24          The undersigned, counsel of record for Fraserside Holdings, Ltd., certifies that the
25   following listed party may have a direct, pecuni!=ttY interest in the outcome of this case.
26   These representations are made to enable to the Court to evaluate possible
27   disqualification or recusal.
28


                  CERTIFICATION AND NOTICE OF INTERESTED PARTIES

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       Case 2:10-cv-05174-JAK -FMO Document 2            Filed 07/14/10 Page 2 of 2 Page ID #:66



     PARTY                                                   CONNECTION
 2   Private Media Group, Inc.                               Sole Shareholder of Plaintiff.
 3

 4   Dated: July    , 2010                                   Respectfully Submitted,
                                                '    ,, '•
                                                    '(


 5

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 7
                                                             Timot )\ P. Dillon
                                                             Attorne ' for Plaintiff,
 8                                                           Fraserside Holdings, Inc.
 9
                                                             E-Mail: tdillon@dillongerardi.com

10                                                           (pro hac vice pending)
11                                                           Spencer D. Freeman
                                                             Attorney for Plaintiff,
12                                                           Fraserside Holdings, Inc.
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                CERTIFICATION
               Case               AND NOTICE
                    3:11-cv-03040-MWB DocumentOF INTERESTED
                                              14-8 Filed 11/10/11PARTIES
                                                                   Page 2 of 2
